\

N

\OOC\]O\§!\-l>b-)

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr-00091-.]D Document 31 F.i|ed 12/20/17 Page 1 of 14

BRIAN J. STRETCH (CABN 163973) _

United States Attorney ULl, 2 0 2011
BA_RBARA_J. vA_LLI_ERE (DCBN 43 9353) CL§W€LA_AN“YSTSPQCQ§¢$RT
Chl°f’ C“mmal D“"Sl°n womean oi§"r§'ici~ 05 cZi;SDHNIA

S. WAQAR HASIB (CABN 234818)
Assistant United States Attorney

1301 Clay Street, Suite 34OS
Oakland, California 94612
Telephone: (510) 637-3680
FAX: (510) 637-3 724
waqar.hasib@usdoj. gov

Attorneys for United States of Amen`ca
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

OAK.LAND DIVISIGN
UNITED STATES OF AMERICA, ) NO. CR~l7-0091-J D
)
Plaintiff; ) DEFERRED PROSECUTION AGREEMENT
) BETWEEN THE UNITED STATES 'OF AMERICA
v. ) AND AK SCIENTIFIC, INC.
)
AK SCIENTIFIC, INC., )
)
Defendant. )
l

 

DEFERRED PROSECUTION AGREEMENT

Defendant AK Scientiflc, Inc. |(the “Company”), by its undersigned representatives, and the
United States Attorney’s Ofiice for the Northem Distn'ct of California (“govemmen ”), enter into this
deferred prosecution agreement (“Agreement”), the terms and conditions of which are as follows:

Acceptance of Responsibili§y

l. The Company acknowledges that it is named in the attached criminal Information filed in
the Northem District of California charging the Company with: (l) failing and refusing to comply with
requirements and rules promulgated under TSCA, in violation of 15 U.S.C. §§ 2614 and 2615; and (2)

offering hazardous materials for transportation without labeling the packages as containing hazardous

DEFERRED PROSECUTION AGREEMENT
CR,17-009l-JD

 

 

\DW\]Q'\!J\-LL»JN'-‘

NNNNNNNNN'-‘»-‘»-l»-»-~»-¢»-\-»r-¢,_¢
®\IO\LAAWN\_O\O®\IQ\\JILWN*_‘O

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 2 of 14

materials, in violation of 49 U.S.C. § 5124. The Company (a) knowingly waives all rights to a speedy
trial pursuant to the Sixth Amendment to the United States Constitution, 18 U.S.C. § 3161, and Federal
Rule of Criminal Procedure 48(b); and (b) knowingly waives, for purposes of this Agreement and any
charges by the government arising out of the conduct described in Attachment A attached hereto and
incorporated by reference into this Agreement, any objection with respect to venue.

2. The Company admits, accepts, and acknowledges that it is responsible under United
States law for the acts of its officers, directors, employees, and agents as set forth in Attachment A, and
that the allegations described in Attachment A are true and accurate Should the government pursue the
prosecution that is deferred by this agreement, the Company stipulates to the admissibility of
Attachment A in any proceeding, including any trial, guilty plea, or sentencing proceeding, and will not
contradict anything in Attachment A at any such proceeding Neither this Agreement nor the
Information is a final adjudication of the matters addressed in such documents.

Term of the Agreement

3. This Agreement is effective for a period beginning on the date which it is signed, and
ending three years from that date (the “Term”). The Company agrees, however, that, in the event that
the government determines, in its sole discretion, that the Company has knowingly violated any
provision of this Agreement, an extension or extensions of the tenn of the Agreement may be imposed
by the govemment, in its sole discretion, for up to a total additional time period of one year, without
prejudice to the government’s right to proceed as provided in Paragr~aphs 14 through 17 below. The
government agrees to provide the Company with written notice prior to instituting such extension.
Within 30 days of receipt of such notice, the Company shall have the opportunity to respond to the
government in writing to explain the nature and circumstances of the alleged breach in question, as well
as the actions the Company has taken to address and remediate the situation, which explanation the
government shall consider in determining whether to require an extension. Any extension of the
Agreement extends to all terms of this Agreement for an equivalent period. Conversely, in the event

that the government finds, in its sole discretion, that there exists a change in circumstances sufficient to

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD

 

\DOO\IO\U!~I>L»JN»--

NNNNNNNNN>-lv-¢»-a\-lv-o-»~»-¢»-o,_a
m\]o\\Jl-hWNF-‘O\QW\IO\LIIAWN*_‘O

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 3 of 14

eliminate the need for any reporting requirements described herein, and that the other provisions of this
Agreement have been satisfied, the term of the Agreement may be terminated early.
Relevant Considerations

4. The government enters into this Agreement based on the individual facts and
circumstances presented by this case and the Company. Among the facts the government considered
were the following: (a) the estimated number of packages that the Company shipped in violation of
either the HMTA or TSCA; (b) remedial measures taken by the Company since the Company first
became aware of the govemment’s investigation in January of 2016, and further remedial measures
taken by the Company since an indictment was returned in this case in January of 2017, Which are
described in further detail in Attachment B; and (c) the loss of significant customers suffered by the
Company as a result of the indictment in this case, and the potential loss of additional customers if the
Company were to be convicted of any offenses, resulting in the company’s possible insolvency.

5. The Company shall cooperate fully with the government in any and all matters relating to
the conduct described in this Agreement and Attachments A and B, until the date upon which all
investigations and prosecutions arising out of such conduct are concluded, whether or not those
investigations and prosecutions are concluded within the Term specified in Paragraph 3. At the request
of the govemment, the Company shall also cooperate fully with other federal and state law enforcement
and regulatory authorities and agencies, in any investigation of the Company or any of its present or
former officers, directors, employees, agents, and consultants, or any other party, in any and all matters
relating to the conduct described in this Agreement and in Attachments A and B. The Company agrees
that its cooperation pursuant to this Paragraph shall include, but not be limited to, the following:

a. The Company shall truthfully disclose all factual information not protected by a
valid claim of attorney-client privilege or work product doctrine with respect to its
activities and those of its present and fenner directors, officers, employees,
agents, and consultants, relating to the conduct described in this Agreement and in
Attachments A and B, about Which the Company has any knowledge or about
which the government may require. This obligation of truthful disclosure

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD

 

\OOO\IO\UIALHN»-¢

NNNNN[\)NNN)-\»-¢o-¢v_oo-I-li-lo-\)-l\_a
CO\IC\M-thv-‘O\OOO\IO\'J\LWN'_‘O

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 4 of 14

includes, but is not limited to, the obligation of the Company to provide to the
government, upon request, any document, record, or other tangible evidence about
which the government may inquire of the Company.

b. Upon request of the government, the Company shall designate a knowledgeable
employee, agent, or attorney to provide the government the information described
in Paragraph 5(a) above on behalf of the Company. It is further understood that
the Company must at all times provide complete, truthful, and accurate
information

c. The Company shall use its best efforts to make available for interviews or
testimony, as required by the govemment, present or fenner officers, directors,
employees, agents, and consultants of the Company. This obligation includes, but
is not limited to, sworn testimony in any federal proceeding, as well as interviews
with federal and state law enforcement and regulatory authorities Cooperation
under this Paragraph shall include identification of witnesses who, to the
knowledge of the Company, may have material information regarding the matters
under investigation

d. With respect to any information, testimony, documents, records, or other
materials provided to the government pursuant to this Agreement, the Company

consents to any and all disclosures, subject to applicable law and regulations, to
other federal and state authorities of such materials as the government, in its sole
n discretion, shall deem appropriate
6. In addition to the obligations in Paragraph 5, during the Term of the Agreement, should
the Company discover any evidence or allegations of any shipments of hazardous materials in violation
of the HMTA or evidence or allegations of failure to comply with any of the rules and regulations
promulgated under TSCA, the Company shall promptly report such evidence or allegations to the

gOVemm€l‘lf.

///

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD

 

N

\OOO\IO\kh-l>~w

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr'-00091-.]D Document 31 Filed 12/20/17 Page 5 of 14

Payment of Criminal Monetag Penalties

7. The government and the Company agree that United States Sentencing Guidelines
Section 8C2.10 governs any fine applicable to this case, The Company agrees to pay a criminal
monetary penalty in the amount of $100,000 to the United States Treasury, to be paid during the term of
this Agreement. The Company and the government agree that this criminal monetary penalty is
appropriate, given the facts and circumstances of this case, including the nature and extent of the
Company’s failure to comply with TSCA and HMTA over a period of several years, the estimated
number of packages that the Company shipped over that time period that contained improperly labeled
and/or improperly packaged hazardous materials, and the remedial measures that the Company has taken
since becoming aware of the government’s investigation The $100,000 criminal monetary penalty is
final and shall not be reiiinded. Furtherrnore, nothing in this Agreement shall be deemed an agreement
by the government that $ 100,000 is the maximum criminal penalty that may be imposed in any future
prosecution, and the government is not precluded from arguing in any future prosecution that the Court
should impose a higher tine, although the govemment agrees that under those circumstances, it will
recommend to the Court that any amount paid under this Agreement should be offset against any fine
the Court imposes as part of a future judgment The Company acknowledges that no United States tax
deduction may be sought in connection with the payment of any part of the criminal monetary penalty
described herein.

Conditional Release from Liabilig{r

8. Subject to paragraphs 14 through 17, the government agrees, except as provided herein
and subject to related agreements between the govemment and co-defendant Peiwen Zhou, that it will
not bring any further criminal or civil cases against the Company relating to the conduct described in
Attachment A, or any other conduct disclosed by the Company to the government prior to the date of
this Agreement The Company agrees that the government may use any information related to the
conduct described in Attachment A against the Company: (a) in a prosecution for perjury or obstruction
of justice; (b) in a prosecution for making a false statement; or (c) in a prosecution or other proceeding

relating to a violation of any provision of Title 26 to the United States Code.

DEFERRED PROSECUTION AGREEMENT
CR 17-009 l -JD

 

\DOO\]O\U'l-(>L)Jl\)»-‘

NNNNNNNNl\))-c-¢»-l»-¢»_¢»-¢o-n»-lo-l»_\
OO\lC\L!t-I>UJN'-*O\DOOMO\'J\J¥~WN*_‘O

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 6 of 14

a. This Paragraph does not provide any protection against prosecution for any future
conduct by the Company.

b. In addition, this Paragraph does not provide any protection against prosecution of
any present or former officer, director, employee, shareholder, agent, consultant,

contractor, or subcontractor of the Company for any violations committed by

them.
Compliance and Monitoring
9. The Company agrees to retain an independent monitor who will monitor the Company’s

compliance with all applicable HMTA and TSCA rules and regulations Within 30 days of the signing
of this Agreement, the Company will propose a pool of three qualified candidates for the independent
monitor, from which the government will select the independent monitor or direct the Company to
nominate additional qualified candidates The Company is expressly permitted to include within this
pool of three qualified candidates the individual whom it previously hired as a result of the Indictment in
this case, Robert Richard; however, the Company agrees that the government is under no obligation to
select Mr. Richard as the independent monitor for purposes of this Agreement, The Company shall pay
reasonable compensation and expenses of the independent monitor chosen by the government During
the term of this Agreement, the independent monitor will provide written reports of the results of the
independent monitor’s compliance reviews every six (6) months to the United States Probation Office,
the government, and the Company. During the term of this Agreement, the Company will have a
reasonable opportunity to cure any alleged violation of the TSCA or HMTA regulations identified by:
(l) the independent monitor; (2) any regulatory agency, including the Pipeline and Hazardous Materials
Safety Administration ("PHMSA"), the Federal Aviation Administration (“FAA”), or EPA; (3) the
United States Probation Office; (4) or the govemment. The government will not oppose a motion by the
Company for early termination of the monitor if: (l) after the conclusion of 18 months, that is,
following the third 6-month compliance review report of its three-year term, the Company is in full
compliance with the requirements of this Agreement, including as determined by the independent
monitor and the United States Probation Office; and (2) the independent monitor or any regulatory

DEFERRED PROSECUTION AGREEMENT
CR 17- 0091-JD

 

 

 

AL»N

\OOO\]O\U\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 7 of 14

agency, including PHMSA, the FAA, or the EPA, have not identified any violations of the _TSCA or
HMTA regulations

10. The Company agrees that Peiwen Zhou will resign as CEO and President of AK
Scientific no later than the date of his sentencing The Company agrees that Peiwen Zhou will take no
part in and serve no management or executive function with regard to matters relating to compliance
with any governmental regulations or supervision of employees with regard to those tasks The
Company agrees that Peiwen Zhou will take no part in the hiring, termination, or discipline of any
employees in departments that are tasked with regulatory compliance (i.e. shipping and receiving of
hazardous chemicals and related regulatory notices or filings). The Company agrees that if Peiwen
Zhou remains in any capacity at AK Scientific, he will be limited to working only as the company’s
Principal Scientist. The Company agrees that Peiwen Zhou’s responsibilities as Principal Scientist will
be limited to the development and marketing of AK Scientific’s product catalog, and oversight of AK
Scientific’s quality control and quality assurance programs regarding purity, identity, and other quality
specifications for AK Scientific’s products The Company agrees that any violation of the terms set out
in this paragraph shall constitute a material breach of this Agreement,

l 1. During the Term of this Agreement, the Company shall conduct a presentation at an
educational seminar or industry convention approved by the independent monitor appoint under
Paragraph 9. That presentation shall acknowledge the existence of this Agreement, and will focus on the
importance of complying with all relevant governmental regulations with an emphasis on HMTA and
TSCA. That presentation will also explain how the Company has instituted an effective compliance
program, and identify measures the Company has taken to ensure regulatory compliance to prevent
recurrence of similar violations in the future. The specific subject matter, venue, and topics shall be
approved by the independent monitor.

Deferreg Prosecution
12. In considerationof (a) the remedial measures taken by the Company as set forth in

Attachment B and (b) the Company’s payment of criminal monetary penalties described above in

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD

 

thth

\DOO\IO\

10
11
12
13
14
15
16
17
_ 18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 8 of 14

paragraph 7, the government agrees that any criminal prosecution of the Company for the conduct set
forth in Attachment A is hereby deferred for the Term of this Agreement,

13. The government further agrees that if the Company fully complies with all of its
obligations under this Agreement, the government will not continue the criminal prosecution against the
Company as described in Paragraph l, and, at the conclusion of the Term, this Agreement shall expire.
Within 30 days of the Agreement’s expiration, the government shall seek dismissal with prejudice of the
Information filed against the Company described in Paragraph 1, and agrees not to file charges in the
future against the Company based on the conduct described in this Agreement and in Attachment A.

Breach of the Agreement d

14. If, during the Term of this Agreement, the Company (a) commits any felony under U.S.
federal law subsequent to the signing of this Agreement, (b) provides in connection with this Agreement
deliberately false, incomplete, or misleading information, (c) fails to cooperate as set forth in Paragraph
5, (d) fails to implement the monitoring program as set forth in Paragraph 9, its removal of Peiwen Zhou
from all compliance and regulatory functions as set forth in Paragraph 10, or the industry presentation
plan as set forth in Paragraph ll; (e) commits any acts that, had they occurred within the jurisdictional
reach of the HMTA or TSCA, Would be a violation of either of those statutes; or (f) otherwise fails
specifically to perform or fulfill completely each and every one of the Company’s obligations under the
Agreement, the government shall, in its sole discretion, determine Whether the Company has breached
the Agreement If the government determines that the Company has breached the Agreement, the
Company shall thereafter be subject to prosecution for any federal criminal violation of which the
government has knowledge, including, but not limited to, the charges in the Information described in
Paragraph l. Any such prosecution may be premised on information provided by the Company. Any
such prosecution relating to the conduct described in Attachment A or relating to the conduct known to
the government prior to the date on which this Agreement was signed that is not time-barred by the
applicable statute of limitations on the date of the signing of this Agreement may be commenced against
the Company notwithstanding the expiration of the statute of limitations between the signing of this

Agreement and the expiration of the Term plus one year. Thus, by signing this agreement, the Company

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD '

 

\lO\U'l-ldwl\)

00

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 9 of 14

agrees that the statute of limitations with respect to any such prosecution that is not time-barred on the
date of the signing of this Agreement shall be tolled for the Term plus one year.

15. In the event that the government determines that the Company has breached this
Agreement, the government agrees to provide the Company with written notice of such breach prior to
instituting any prosecution resulting from such breach. Within 30 days of receipt of such notice, the
Company shall have the opportunity to respond to the government in writing to explain the nature and
circumstances of such breach, as well as the actions the Company has taken to address and remediate the
situation, which explanation the government shall consider in determining whether to institute a
prosecution.

16. In the event that the government determines that the Company has breached this
Agreement, Attachment A shall be admissible in evidence in any and all criminal proceedings brought
by the government against the Company. The Company shall not assert any claim under the United
States constitution, Rule ll(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules
of Evidence, or any other federal rule that Attachment A should be suppressed or is otherwise
inadmissible

l7. The Company acknowledges that the government has made no representations
assurances or promises concerning what sentence may be imposed by the Court if the Company
breaches this Agreement and this matter proceeds to judgment The Company further acknowledges
that any such sentence is solely within the discretion of the Court and that nothing in this Agreement
binds or restricts the Court in the exercise'of such discretion.

Sale or Merger of Company

18. Except as may otherwise be agreed by the parties hereto in connection with a particular
transaction, the Company agrees that in the event it sells merges or transfers all or substantially all of
its business operations as they exist as of the date of this Agreement, whether such sale is structured as a
sale, asset sale, merger, or transfer, it shall include in any contract for sale, merger, or transfer a
provision binding the purchaser, or any successor in interest thereto, to the obligations described in this
Agreement,

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD

 

10
11

13
14
15
16
17
18
19
20
21
22

24
25
26
27
28

 

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 10 of 14

Limitations on Bindir_\pl Effect of Agreement

19. This Agreement is binding on the Company and the government but specifically does not
bind any other federal agencies or any stats local, or foreign law enforcement or regulatory agencies or
any other authorities including but not limited to the civil enforcement division of the Federal Aviation
Administration, although the government will bring the cooperation of the Company and its compliance
with its other obligations under this Agreement to the attention of such agencies and authorities if
requested to do so by the Company.

Comglete Agreement

20. This Agreement sets forth all the terms of the agreement between the Company and the
government No amendments modifications or additions to this Agreement shall be valid unless they
are in writing and signed by the government, the attorney for the Company, and a duly authorized
representative of the Company.
AGREED:

BRIAN J. STRETCH
United States Attomey

Dated: 174 M/ fEl' M-¢.V_--/-t§

S. WAQAR HASIB
Assistant United States Attomey

 

 

FOR AK SCIENTIC, INC.:

vi "'”1"’ %'Q ?
KEVIN ZHOU /_\
AK Scientific, Inc.

Dated:

 

 

Dated; DQ/C@-m_\.,=_- w 1497 7 _/A,g/L_/&_` CJQ$’ME¢)\ (_BM)
CHARLES WOODSON, ESQ.
Attomey for Def`endant

DEFERRED PROSECUTION AGREEMENT
CR 17-0091-JD
10

 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 11 of 14

ATTACHMENT A
STATEMENT OF FACTS

The following Statement of Facts is incorporated by reference as part of the Deferred
Prosecution Agreement (the “Agreement”) between the United States Attomey’s Office for the
Northem District of California (the “USAO”) and AK Scientific, Inc. (the “Company”). The
Company hereby agrees and stipulates that the following information is true and correct:

The Company admits accepts and acknowledges that it is responsible under United
States law for the acts of its officers directors employees and agents as set forth below. Should
the USAO pursue the prosecution that is deferred by this Agreement, the Company agrees that it
will neither contest the admissibility of, nor contradict, this Statement of Facts in any such
proceeding If this matter were to proceed to trial, the USAO would prove beyond a reasonable
doubt, by admissible evidence, the facts alleged below. This evidence would establish the
following:

Relevant Entities and Indivdiuals

The Company was incorporated on June 23, 2004, and began operating in approximately
2006. The Company was involved in the business of selling research and specialty chemicals
The Company was initially located in Mountain View, California. In approximately 2010, the
Company relocated to Union City, California.

PEIWEN ZHOU (herein “ZHOU”) was the Company’s founder, owner, and chief
executive officer. ZHOU received a Ph.D. in chemistry in 1998. After founding the Company,
ZHOU employed between 4 and 50 other people in various capacities including shipping and
receiving y

The Company purchased chemicals from other chemical supply companies and sold
chemicals from its inventory to customers The Company’s customers included universities
research laboratories and other entities Some of the Company’s customers were located
domestically, including in the San Francisco Bay Area. Other customers were located

internationally.

Case 4:17-cr-00091-.]D Document31 Filed`12/20/17 Page 12 0114

The Company used common carrier companies to obtain chemicals from its suppliers
and to deliver chemicals to its customers The Company typically sent and received these

chemicals by both air and ground delivery.

Criminal Conduct

Starting in 2008, and continuing until approximately February 3, 2016, on a number of
occasions ZHOU caused employees in the Company’s shipping department to ship hazardous
materials listed in the HMTA as non-hazardous materials both domestically and internationally,
and by both ground and air, in violation of the HMTA requirements ZHOU also caused
employees in the Company’s purchasing and receiving department to purchase chemicals
including chemicals listed on the TSCA Inventory, which were sometimes shipped from
suppliers in China under different names without filing corresponding TSCA certification
statements

As one example, on approximately July 3, 2014, the Company shipped a package
containing 100 grams of l,2-dibromoethane by ground shipment to a company in Northern
California without properly labeling the package with the following label, identifying it as a

Class 6.1 poisonous inhalation hazard:

  

lNHALAT|ON
HAZARD

 
   
 

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 13 of 14

As another example, on approximately September 19, 2012, the Company received a 25
kilogram shipment of 1,2-dibr0moethane-from‘ China under a different name, and failed to file

the corresponding TSCA certification statement necessary for imports of l,2-dibromoethane.

Case 4:17-cr-00091-.]D Document 31 Filed 12/20/17 Page 14 of 14

ATTACHMENT B

AK Scientific has taken extensive steps in remediation, since learning of the govemment’s
investigation Specifically, the Company has reassigned management responsibilities and
created a de facto Corporate Compliance Officer (“CCO”), a position which will be formalized
in conjunction with this Agreement. Specifically, the Company has instituted a robust and
regular training pro gram, updated and changed its standard operating procedures (“SOP”) to
ensure regulatory compliance, drafted and updated the Company’s SOP manuals and
implemented numerous technical changes to the Company’s computer and software programs to
enhance regulatory compliance The Company has also hired consultants to advise it with regard
to various regulatory responsibilities which included on-site evaluation. While the Company
has expended significant resources on this work, it has made every effort to retain its employees

With regard to training, the Company has hired a consultant with several decades of hazardous
materials experience who conducted a multi-day on site training for its employees and
management This training addressed a variety of topics including dangerous good regulations
classification of dangerous goods and preparation of dangerous goods shipments Additional
function-specific training and continuing education has also occurred regularly on such topics as
“Hazardous Materials Air Shipper Certification Course (IATA),” “TSCA Regulations,”
“Shipping Hazmat by Ground,” “Managing Hazard Communication,” “TSCA: Chemical
Reporting and Recordkeeping,” and “Conditionally Exempt Small Quantity Generators.”
Finally, the Company has instituted weekly “employee-led” trainings that are researched,
prepared, and presented in conjunction with the CCO.

